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7      NETWORK, INC.
8                                              UNITED STATES DISTRICT COURT
9                                             CENTRAL DISTRICT OF CALIFORNIA
10

11
       CARRIE COUSER,                                                     Case No. 5:14-cv-00786-ODW-PLA
12     INDIVIDUALLY AND ON
13
       BEHALF OF ALL OTHERS                                               NOTICE OF SETTLEMENT
       SIMILARLY SITUATED,
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15                                             Plaintiff,
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17
       FINANCIAL CREDIT
18     NETWORK, INC.,
                      Defendant
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22     TO THE COURT, THE PARTIES, AND THEIR ATTORNEYS OF
23     RECORD HEREIN:
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                     PLEASE TAKE NOTICE that all parties in the above-entitled lawsuit have
25
       agreed to settle the lawsuit in its entirety. The parties anticipate that they will
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       complete the settlement, and that the parties will file a Stipulation to Dismiss the
27
       individual action of Plaintiff CARRIE COUSER, with prejudice, and dismiss
28




       {Couser v FCN - Ntc of Settlement;1}                          1
                                                ANSWER TO COMPLAINT - Case No. 5:14-cv-00786-ODW-PLA
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1      without prejudice the class action claims asserted in the lawsuit pursuant to FRCP
2      41(a)(1)(A)(ii), within 45 days from the date of this Notice. The parties request
3      that the Court take off calendar all future calendared dates. Each party shall bear
4
       their own costs and expenses.
5

6
       Dated November 12, 2014                                     KAZEROUNI LAW GROUP, APC
7

8
                                                                   By: /s/ Abbas Kazerounian
                                                                         Abbas Kazerounian
9                                                                        Attorneys for Plaintiff
10                                                                       CARRIE COUSER
11

12
       Dated November 12, 2014                                     CARLSON & MESSER LLP
13                                                                 By: /s/ David J. Kaminski
14                                                                       David J. Kaminski
                                                                         Attorneys for Defendant
15
                                                                         FINANCIAL CREDIT NETWORK,
16                                                                       INC.
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       {Couser v FCN - Ntc of Settlement;1}                        2
                                              ANSWER TO COMPLAINT - Case No. 5:14-cv-00786-ODW-PLA
